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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION
JEWELLEAN MOORE, PLAINTIF,
VS. CASE # 3:16cv 3362

CRESCENT MEDICAL CENTER, DEF., ET AL.

 

. PLAINTIFF’S REQUEST FOR DEFAULT JUDGMENT
AND STAY OF THE IN-PERSON-GUARDIAN AD LITEM
HEARING/PENDING DE NOVO REVIEW
Comes Now the Plaintiff, Jewellean Moore, pursuant to Rules 11( c) (1); 37(b); 55; and
60(6), FRCP, Request Sanctions of Default Judgment , and Stay of the In-Person Hearing for
May, 02, 2017. This Court’s inherent Power to Stay these Proceedings in the furtherance of the

Fair and Efficient Administration of Justice, Landis V. N. AM., Co., 299 U.S. 248, 249, 254 (1936).

REQUEST FOR DEFAULT JUDGMENT:
1). The Defendants were Ordered on March 8, 2017, to Respond to Plaintiff's Amended Complaint by
April 7, 2017. The Defendants have failed to respond or otherwise plead. To make clear, the Court
Should determine whether the Original or Amended Complaint are now at issue. Also, the Court
Should not allow the Defendants defend against use of the Amended Complaint, or enter default
Judgment against the Defendants.
STAY OF THE IN-PERSON-GUARDIAN AD LITEM HEARING
PENDING DE NOVO REVIEW
2). The Magistrate’s Order of April 18, 2017, is clearly errouneous and contrary to law. The Order

Requires Plaintiff to Travel more than 626 miles for what should have been a pro forma process.

(1)
 

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The Order states, “during the April 18, 2017, phone Conference, it became apparent that in-person-
Hearing on Ms. Moore Request is necessary “. This is incompatible with Plaintiff's Doctor’s opinion.

There exist no evidentiary facts to support the lack of Appointment of a Friend of Court Appointment
Of Ms. Moore’s Domestic Partner by the Court sua sponte. Plaintiff's Doctor’s assessment of Plaintiff's
Disabilities should have been a coup de gras blow to the opposition. The Magistrate failed to issue any
Order that protects the Plaintiff’s interest, despite Dr. Jayakrishanan Deepa’s Verification of disabilities
Attached to Plaintiff's request for Guardian ad litem/Friend of the Court Appointment.

The Federal Rules, 52(a)(3), and 72(a), Requires the Magistrate rely on factual evidence . there is
Nothing in the records which diminishes Plaintiff’s evidence of Mental Disability. In fact, the Magistrate
Has failed to disclose the sudden epiphany that could not be handled by contemporaneous transmission
From different location, pursuant to Rule 43, FRCP.

The Magistrate’s order at this juncture is a burdening hardship, and exceeds what is necessary for
Appointment of a Friend of Court or Guardian ad litem.

WHEREFORE, PREMISES CONSIDERED, PLAINTIFF PRAY THIS COURT STAY THE IN-PERSON-GUARDIAN
AD LITEM HEARING; IMPOSE SANTIONS OR DEFAULT AGAINST THE DEFENDANTS FOR VIOLATIG COURT
ORDER NO. 30. ALTERNATIVELY, DE NOVO REVIEW.

4 Miran Wore Dated this___ 24 day of April, 2017.

ellean Moore

CERTIFICATE OF CONFERENCE
|, Jewellean Moore, certify that Monica Bailey, has made communications difficult, nevertheless,
She was Notified by email. Counsel is aware of Plaintiff's Partner preparing documents, yet She
Makes unwarranted remarks to impede the process of a conference.

| swear the foregoing statements are true and correct.

 

(2)
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CERTIFICATE OF SERVICE:

|, Jewellean Moore, certify that a copy of the foregoing Default Judgment/Request for Stay, is
Hereby mailed to: Monica Bailey, Attorney for Defendants this 24" day of April, 2017, by U.S. Mail,
Postage prepaid.

| Swear the foregoing statements are true and correct.
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wellean Moore
6200 Colonel Glenn Rd #219

Little Rock, AR. 72204
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